Case 2:03-CV-02803-BBD-tmp Document 9 Filed 08/17/05 Page 1 of 2 Page|D 18

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IN THE UNITED STATES DISTRICT COIQBHU[; |‘] PH l: 110
FOR THE WESTERN DISTRICT OF TENNESSEE

 

THOMAS tt. GOULD
WESTERN DIVISION wm U,Sl WWM mm
_w[@ §§ Tz.._ tightng
CLAY MEANS,
Plaintit`t`, Case No.: 03-2803 D
v.

RANDY J. DAVIS,

Defendant.

 

ORDER DENYING MOTION AS MOOT

 

Before the court is Petitioner’s Motion to Disrniss (Docket #8). Inasmuch as a judgment Was

entered in this case on September 8, 2004, Petitioner’S motion is denied as moot.

IT ls so 0RDERE1) this / 7 ”Bay ofLFML, 2005.

cE B UIE DONALD ' '
ITED STATES DISTRICT JUDGE

  
 

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Clay Means
15566-058

P.O. BOX 34550
Memphis7 TN 38184

Honorable Bernice Donald
US DISTRICT COURT

